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                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF ALASKA



 Ronald Halsey and Debbie L. Halsey,             )
                                                 )   Case No. 3:06-cv-00205-JWS
              Plaintiffs,                        )
                                                 )   NOTICE OF LODGING
                                                 )   ADMINISTRATIVE RECORD
     v.                                          )   (Available conventionally at Clerk’s
                                                 )   Office)
 Administrator, Wage and Hour Division,          )
 United States Department of Labor,              )
                                                 )
              Defendant.                         )
                                                 )


          Defendant, Administrator, Wage and Hour Division, United States Department of Labor, by

and through counsel, submit conventionally the following administrative record in the above-entitled

and numbered cause of action. The record is contained in one binder with pages numbered HALS

0000001-503.

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        Respectfully submitted this 29th day of December, 2006, in Anchorage, Alaska.

                                                  NELSON P. COHEN
                                                  United States Attorney

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                                                  Senior Attorney


CERTIFICATE OF SERVICE

I hereby certify that on December 29, 2006,
I caused a copy of the foregoing NOTICE OF
FILING OF ADMINISTRATIVE RECORD,
along with a copy of the Administrative Record,
to be served by U.S. Mail upon counsel for
plaintiffs at

Arthur S. Robinson
Robinson & Associates
35401 Kenai Spur Highway
Soldotna, AK 99669


s/ Richard L. Pomeroy




Halsey, et al. v. Administrator,
Wage and Hour Division, Dept of Labor
Case No. 3:06-cv-00205-JWS                           2



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